                           MEMORANDUM OPINION
{¶ 1} On February 6, 2007, appellant, Ronald Dudas, filed a notice of appeal from a judgment of the Lake County Court of Common Pleas on January 3, 2007. Thus, appellant's notice of appeal was filed thirty-four days after the judgment had been issued by the trial court.
  {¶ 2} App.R. 4(A) states: *Page 2 
  {¶ 3} "A party shall file the notice of appeal required by App.R. 3 within thirty days of the later of entry of the judgment or order appealed, * * *."
  {¶ 4} App.R. 5(A) states, in relevant part:
  {¶ 5} "(1) After the expiration of the thirty day period provided by App.R. 4(A) for the filing of a notice of appeal as of right, an appeal may be taken by a defendant with leave of the court to which the appeal is taken in the following classes of cases:
  {¶ 6} "(a) Criminal proceedings;
  {¶ 7} "(b) Delinquency proceedings; and
  {¶ 8} "(c) Serious youthful offender proceedings.
  {¶ 9} "(2) A motion for leave to appeal shall be filed with the court of appeals and shall set forth the reasons for the failure of the appellant to perfect an appeal as of right."
  {¶ 10} In the present case, appellant has neither complied with the thirty-day rule set forth in App.R. 4(A) nor sought leave to appeal. Thus, this court is without jurisdiction to consider this appeal. In order to appeal the trial court's decision, appellant must file a motion for delayed appeal at the same time he files a notice of appeal pursuant to App.R. 5(A).
  {¶ 11} Based upon the foregoing analysis, this appeal is hereby sua sponte dismissed as being untimely.
  {¶ 12} Appeal dismissed.
  DIANE V. GRENDELL, J., MARY JANE TRAPP, J., concur. *Page 1 